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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

                                 CASE NO. 0:22-cv-61009-RS


  EDGAR QUINTERO,

         Plaintiff,

  v.

  HEALTHCARE REVENUE RECOVERY GROUP,
  LLC d/b/a ARS ACCOUNTS RESOLUTION
  SERVICES,

         Defendant.
                                                 /

   NOTICE OF COMPLIANCE WITH COURT’S ORDER DATED OCTOBER 3, 2022
                           [DKT. NO. 20]

        NOW COME, Franklin A. Jara and Alejandro E. Figueroa, and notify this Honorable that

 that they have complied with the Court’s Order entered on October 3, 2022 [Dkt. No. 20] and has

 provided EDGAR QUINTERO (“Plaintiff”) with a copy of this order by sending it to his last

 known address and email address.

 Dated: October 5, 2022
                                                     Respectfully Submitted,

                                                     /s/ Franklin A. Jara
                                                     Franklin A. Jara
                                                     Florida Bar No. 636681
                                                     Sulaiman Law Group, Ltd.
                                                     2500 S. Highland Avenue, Suite 200
                                                     Lombard, IL 60148
                                                     Phone (312) 313-1613
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                                                     fjara@sulaimanlaw.com
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                                  CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that on October 5, 2022 a true and correct copy of the

 above and foregoing document was filed with the Court via CM/ECF and served on all parties

 requested electronic notification.



                                                    /s/ Franklin A. Jara
